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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NATHSON E. FIELDS,                                )
                                                  )
                         Plaintiff,               )
                                                  )
               v.                                 )   Case No. 10 C 1168
                                                  )
CITY OF CHICAGO, et al.,                          )   Judge Matthew F. Kennelly
                                                  )
                         Defendants.              )   Magistrate Judge Geraldine Soat Brown

         CITY DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL

       NOW COME the Defendants, City of Chicago, David O’Callaghan, Joseph Murphy, and

Daniel Brannigan (“City Defendants”), by their attorney, Terrence M. Burns of Dykema Gossett,

PLLC, and submit this motion for leave to file under seal.          In support thereof, the City

Defendants state:

       Exhibit 9 to the City Defendants’ motion to reconsider this Court’s order granting a new

trial to plaintiff is the transcript of Earl Hawkins’ July 11, 2014 U.S. Parole Commission hearing.

As the exhibit contains material obtained from the U.S. Parole Commission, in accordance with

the protective order pertaining to materials produced by the U.S. Parole Commission (Dkt.

#789), the City Defendants seek leave to file the exhibit under seal. Similarly, page 17 of the

City Defendants’ motion to reconsider contains an excerpt from that Parole Commission hearing

transcript. Therefore, the City Defendants seek leave to file that portion of their motion to

reconsider under seal.

       WHEREFORE, for the foregoing reasons, Defendants City of Chicago, David

O’Callaghan, Joseph Murphy, and Daniel Brannigan respectfully request this Court allow them

leave to file Exhibit 9 to their motion to reconsider and the portion of the motion to reconsider

quoting the July 11, 2014 Parole Commission hearing under seal.
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Date: April 24, 2015                     Respectfully submitted,


                                         s/ Daniel M. Noland
Terrence M. Burns                        One of the Attorneys for City Defendants
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 24, 2015, I electronically filed the foregoing City

Defendants’ Motion for Leave to File Under Seal with the Clerk of the Court using the ECF

system, which sent electronic notification of the filing on the same day to:

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                                                  s/ Daniel M. Noland
